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  UNITED STATES BANKRUPTCY COURT
  Eastern District of Kentucky
  PDF FILE WITH AUDIO FILE ATTACHMENT

        24-50346
        Fast Flow Plumbing, LLC



        Case Type :                    bk
        Case Number :                  24-50346
        Case Title :                   Fast Flow Plumbing, LLC

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